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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Catheshia Hall

v.                                               Case Number: 4:24−cv−00974

U.S. Bank National Association




                                 Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Magistrate Judge Richard W Bennett
LOCATION:
by video
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 6/17/2024
TIME: 10:45 AM
TYPE OF PROCEEDING: Initial Conference


Date: April 25, 2024                                           Nathan Ochsner, Clerk
